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                   EXHIBIT 9
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                                                                                                    Mark Kachner
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January 25, 2022

VIA EMAIL

Brian Andrea
Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.,
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Re:    Masimo Corp. and Cercacor Laboratories v. Apple Inc.
Dear Brian:
We write in response to your January 21, 2022, letter regarding Masimo’s responses to Apple’s 15 th Set
of Requests for Production and as a follow-up to our January 19, 2022 meet and confer. Apple’s
January 21 letter misstates what transpired at the meet and confer.
RFPs 347-352: During the meet and confer, Masimo explained its objection that that these RFPs
encompass “all or nearly all of Plaintiffs’ portfolio of monitoring products dating back to the early
1990s.” Apple cannot cure the overbreadth problem by seeking documents “sufficient to show,” the
requested information, because the universe of information Apple seeks is itself overbroad and not
proportional to the needs of the case.
During the meet and confer, Apple complained that it did not yet know which Masimo products practice
the asserted trade secrets. I explained that our response to Interrogatory No. 26 provided this
information and that we would be supplementing this response soon to address Special Master
Guilford’s order.
Apple now purports to clarify the scope of the documents it is seeking, but Apple’s letter does not
narrow the scope of any requests and the requests remain overbroad and not proportional to the needs of
the case. First, for “Masimo’s products on the market,” Apple appears to limit its request to “unreleased
versions” and “prototypes” that “show, describe, or refer to the alleged trade secrets in this case.” But
every released version of every product Masimo has ever sold started as an unreleased version and
prototype. Apple’s requests are thus still directed at all or nearly all of Plaintiffs’ portfolio of
monitoring products dating back to the early 1990s. Second, Apple describes its request for “unreleased
versions, including prototypes” of products. But given Apple’s discussion on the scope of Masimo’s
“products on the market,” which really seeks discovery on “unreleased versions,” Apple’s definition of
the scope of “unreleased versions” is also overbroad and not proportional to the needs of the case, as
described above. Accordingly, it is unclear to us how or whether Apple is actually narrowing these
requests. Please provide the text of any narrowed request for our consideration.
RFPs 353-354: We discussed the scope of these RFPs during the meet and confer. We never refused to
offer any inspection of any specific device. Rather Apple still appears to demand an inspection of all or

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nearly all of Plaintiffs’ portfolio of monitoring products dating back to the early 1990s, including
unreleased products. Regarding an inspection of “wrist-worn products,” Apple now clarifies that “wrist-
worn monitor” means “products measuring physiological parameters or using light-based measurement
techniques at the wrist.” But Apple has already inspected such products in this case and the ITC case.
Indeed, between this case and the co-pending ITC case between the same parties and involving the same
lawyers, Apple has now conducted at least three inspections of wrist-worn products. In addition, in the
ITC case, Apple recently demanded a deposition of a Masimo witness to demonstrate Masimo’s wrist-
worn monitor, which was conducted on January 6, 2022. As you know, Masimo has proposed that the
parties agree to cross-use discovery between the cases. Although Apple objected to cross-use, Masimo
remains open to discussing the matter. Apple has not articulated any reason it needs to unnecessarily
amplify the proceedings by duplicating these inspections.


                                                       Best regards,




                                                       Mark D. Kachner

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